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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                       *      CIVIL ACTION
                                            *
                                            *       NO. 2:20-cv-2679
VERSUS                                      *
                                            *       JUDGE GREG G. GUIDRY
ADMINISTRATORS OF THE                       *
TULANE EDUCATIONAL FUND                     *       MAGISTRATE JUDGE KAREN WELLS ROBY

                                                ORDER

       Considering the Motion for Leave to File (R. Doc. 36);

       IT IS ORDERED that Princess Dennar, M.D., be granted leave of court to file her Second

 Supplemental and Amended Complaint.

       New Orleans, Louisiana, this       day of          June         , 2021.




                                            UNITED STATES DISTRICT JUDGE
